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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                )
                                           )
       Plaintiff,                          )
                                           )
              v.                           )
                                           )
  CHRISTOPHER TATE,                        )   CAUSE NO. 1:20-cr-96-TWP-DLP-01
  JOVAN STEWART,                           )                           -02
        a/k/a Peso,                        )
  ROBERT HINTON,                           )                               -03
  TIA DIMMETT,                             )                               -04
  LACEY GUZMAN,                            )                               -05
  SANDRA KELLOGG,                          )                               -06
  DESIRAE EVANS,                           )                               -07
  ERIC POORE,                              )                               -08
        a/k/a Hollywood,                   )
  JOSE RODRIGUEZ-CHAVEZ,                   )                               -09
        a/k/a Jalisco,                     )
        a/k/a Johnny,                      )
  JASON LEWIS,                             )                               -10
  DWYATT HARRIS,                           )                               -11
  DOROTHY KNIGHT, and                      )                               -12
  CHAYLON RUSH,                            )                               -13
                                           )
       Defendants,                         )


                                 ORDER TO UNSEAL

       Upon the Motion of the United States of America, it is hereby ORDERED that

  the above-captioned cause be unsealed.

       The Clerk of this Court is ordered and directed to unseal the above-captioned

  cause.
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       So ORDERED this 19th day of March, 2020.



                                           _________________________
                                           TIM A. BAKER
                                           Magistrate Judge
                                           Southern District of Indiana
